Use Tab key1:21-cr-00233-CJN
      Case  to move from fieldDocument
                               to field on54this  form.
                                               Filed 04/07/23 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA

                                                                           1:21-cr-00233-CJN
        vs.                                         Criminal Number

WILLIAM ROBERT NORWOOD, III
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9      FEDERAL PUBLIC DEFENDER



                                                                 (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Marina Medvin, DC Bar #995966
                                                         (Attorney & Bar ID Number)
                                          MEDVIN LAW PLC
                                                                (Firm Name)
                                          916 Prince St, Ste 109
                                                              (Street Address)
                                          Alexandria, VA 22314
                                           (City)                (State)           (Zip)
                                          888-886-4127
                                                            (Telephone Number)
